        Case 8-17-08100-reg             Doc 8      Filed 05/05/17       Entered 05/05/17 18:03:03




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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                                                                 :   Hearing Date: June 14, 2017 (1:30 pm)
In re:                                                           :
                                                                 :   Chapter 11
FEDERATION EMPLOYMENT AND                                        :
GUIDANCE SERVICE, INC. d/b/a FEGS                                :   Case No. 15-71074 (REG)
                                                                 :
                                                  Debtor.        :
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                                                                 :
THE OFFICIAL COMMITTEE OF                                        :
UNSECURED CREDITORS OF FEGS                                      :   Adv. Proc. No. 17-08100 (REG)
                                                                 :
                    Plaintiff,                                   :   NOTICE OF MOTION
                                                                 :
vs.                                                              :
                                                                 :
LOEB & TROPER LLP,                                               :
                                                                 :
                    Defendant.                                   :
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         PLEASE TAKE NOTICE that, upon the annexed Declaration of James L. Bernard,

dated May 5, 2017 and the exhibits attached thereto, and Defendant Loeb & Troper LLP’s

Memorandum of Law in Support of its Motion to Dismiss the Complaint, Defendant Loeb &

Troper LLP, by and through its undersigned attorneys, hereby respectfully moves this Court

located 290 Federal Plaza, Central Islip, New York, on June 14, 2017 at 1:30 p.m., or as soon

thereafter as counsel can be heard, for an Order, substantially in the form attached hereto
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      (i) dismissing the complaint with prejudice, and

      (ii) granting such other and further relief as the Court deems just and proper.

Dated: New York, New York
       May 5, 2017


                                            STROOCK & STROOCK & LAVAN LLP


                                            By:    /s/ James Bernard
                                                   James L. Bernard
                                                   David M. Cheifetz
                                                   180 Maiden Lane
                                                   New York, New York 10038-4982
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                                                   Attorneys for Loeb & Troper LLP
